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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 SECURITY WATCH ALERT                         )
 TEAM, LLC,                                   )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )       CASE NO. 1:17-cv-00003-SEB-MPB
                                              )
 CURTIS T. HILL, JR.,                         )
 in his official capacity as Indiana          )
 Attorney General,                            )
 DEREK R. PETERSON,                           )
 ED HUTCHISON,                                )
                                              )
                Defendants.                   )

                         ANSWER AND STATEMENT OF DEFENSES

        Defendant, Curtis T. Hill, Jr., in his official capacity as the Attorney General of Indiana,

 by counsel, for his answer to Plaintiff’s First Amended Complaint, states as follows:

    1. No response is required as paragraph 1 of the Complaint does not contain any allegations.

        To the extent that allegations exist, Defendant denies them.

                             NATURE OF ACTION AND JURISDICTION

    2. No response is required as paragraph 2 of the Complaint does not contain any allegations.

        To the extent that allegations exist, Defendant denies them.

    3. Defendant denies the allegations contained in paragraph 3 of the Complaint.

    4. Defendant denies the allegations contained in paragraph 4 of the Complaint.

    5. Defendant admits venue but denies the remaining allegations contained in paragraph 5 of

        the Complaint.
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                                            PARTIES

    6. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the

       allegations in paragraph 6 of the Complaint.

    7. Admitted.

    8. Defendant admits that Derek R. Peterson and Ed Hutchison were employees of the Office

       of the Indiana Attorney General, but is without sufficient information to admit or deny the

       remaining allegations contained in paragraph 8 of the Complaint.

    9. Defendant denies the allegations contained in paragraph 9 of the Complaint.

    10. Defendant is without sufficient information to admit or deny the allegations contained in

       paragraph 10 of the Complaint.

    11. Defendant denies the allegations in paragraph 11 of the Complaint.

                                             FACTS

    12. Defendant is without sufficient information to admit or deny the allegations contained in

       paragraph 12 of the Complaint.

    13. Defendant admits that the Office of the Indiana Attorney General filed a Petition for

       Summary Suspension against Plaintiff before the Indiana Private Investigator and Security

       Guard Licensing Board (hereafter “Board”) on or about January 6, 2015. To the extent

       that any allegations remain in paragraph 13 of the Complaint, Defendant denies them.

    14. Defendant admits that a hearing was held before the Board on January 14, 2015. Defendant

       lacks sufficient information to admit or deny the remaining allegations in paragraph 14 of

       the Complaint.
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    15. Defendant admits that the Board suspended Plaintiff’s license. Defendant lacks sufficient

       information to admit or deny the remaining allegations contained in paragraph 15 of the

       Complaint.

    16. Defendant denies the allegations in paragraph 16 of the Complaint.

    17. Defendant denies the allegations in paragraph 17 of the Complaint.

                                          COUNT ONE

    18. The foregoing responses are incorporated as if re-alleged herein.

    19. Defendant denies the allegations in paragraph 19 of the Complaint.

    20. Defendant denies the allegations in paragraph 20 of the Complaint.

    21. Defendant denies the allegations in paragraph 21 of the Complaint.

                                         COUNT TWO

    22. The foregoing responses are incorporated as if re-alleged herein.

    23. Defendant denies the allegations in paragraph 23 of the Complaint.

    24. Defendant denies the allegations in paragraph 24 of the Complaint.

                                        COUNT THREE

    25. The foregoing responses are incorporated as if re-alleged herein.

    26. Defendant denies the allegations in paragraph 26 of the Complaint.

    27. Defendant denies the allegations in paragraph 27 of the Complaint.

                                         COUNT FOUR

    28. The foregoing responses are incorporated as if re-alleged herein.

    29. Defendant denies the allegations in paragraph 29 of the Complaint.

    30. Defendant denies the allegations in paragraph 30 of the Complaint.

       Defendant denies all allegations not specifically admitted.
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                                   STATEMENT OF DEFENSES

        Without waiving any of the defenses set forth above, or any other defenses available at law

 or equity, for his defenses to the Complaint, Defendant states as follows:

        1.      Plaintiff lacks standing.

        2.      Plaintiff is not the real party in interest.

        3.      Plaintiff has contractually waived or ceded the right to sue Defendant regarding the

                allegations in the Complaint or is lawfully prohibited from doing so.

        4.      The Complaint fails to state a claim upon which relief can be granted.

        5.      The Complaint fails to state an actionable claim for relief under 42 U.S.C. § 1983.

        6.      Defendant as named in the Complaint is not a “person” subject to suit under 42

                U.S.C. § 1983.

        7.      Defendant has Eleventh Amendment Immunity.

        8.      Defendant is absolutely immune from suit.

        9.      There is no ongoing constitutional violation, and Plaintiff is not entitled to relief

                under Ex parte Young.

        10.     Defendant is immune from all claims for damages because he has not violated

                clearly established rights of which a reasonable person would have known.

        11.     The Complaint is barred for failure to comply with the notice or procedural

                requirements of the Indiana Tort Claims Act.

        12.     Defendant is entitled to immunity under the Indiana Tort Claims Act.

        13.     Plaintiff has not properly established the foundation to sue Defendant pursuant to

                Indiana Code section 34-13-3-5.

        14.     Defendant was not the proximate cause of Plaintiff’s damages, if any exist.
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        15.     The cause of action herein is moot.

        Defendant also gives notice that he intends to rely on such other defenses as may become

 available by law, or under statute, or that may become evident during the discovery proceedings

 of this case, and reserves the right to amend his answers and include any such defenses. Defendant

 may assert affirmative defenses at any time such defenses become apparent.

        WHEREFORE, Defendant respectfully requests that Plaintiff take nothing by way of the

 Complaint; that judgment be entered in favor of Defendant and against Plaintiff; and that the Court

 grant Defendant all other relief that is just and proper.

                                                        Respectfully Submitted,

                                                        CURTIS T. HILL, JR.,
                                                        Attorney General of Indiana
                                                        Attorney No. 13999-20


                                                By:     s/ Winston Lin
                                                        Winston Lin
                                                        Deputy Attorney General
                                                        Attorney No. 29997-53
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                                  CERTIFICATE OF SERVICE

        I certify that on December 18, 2017, the foregoing was filed with the Clerk of the Court

 using the CM/ECF system. Service of this filing will be made on all ECF-registered counsel by

 operation of the Court’s electronic filing system.

        Thomas B. O’Farrell
        ecf@mcclureofarrell.net


                                                      s/ Winston Lin
                                                      Winston Lin
                                                      Deputy Attorney General


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